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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00153-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    DANIELE PULIA, and
2.    CARLOS FONG ECHAVARRIA,

      Defendants.


        UNOPPOSED MOTION TO CONTINUE THE SENTENCING HEARING


      MR. CARLOS FONG ECHAVARRIA, by and through his attorney, Timothy P.

O’Hara, respectfully requests that the Sentencing Hearing be continued for 60 days. The

request is unopposed by the government.

      1.      On June 2, 2020, the government filed a five-count Indictment, alleging that

Mr. Echavarria, along with his co-defendant Daniele Pulia, committed various federal

criminal offenses, including violations of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(i),

841(b)(1)(C), 846, 959(a), 960(a)(3), 960(b)(1)(A), 960(b)(3), and 18 U.S.C. §§ 2,

1956(h), 1956(a)(2)(A), 1956(a)(2)(B)(i). See Doc. 1.

      2.      On August 17, 2021, Mr. Echavarria was arrested in the District of Colorado

and made his Initial Appearance before the Honorable United States Magistrate Judge S.

Kato Crews. See Doc. 11.




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       3.     On June 27, 2022, undersigned counsel filed a Notice of Disposition,

advising the Court that the parties had reached a disposition. See Doc. 25.

       4.     On August 10, 2022, the parties appeared before the Court for the Change

of Plea Hearing. At that time, the Court set the Sentencing Hearing for November 16,

2022. See Doc. 37.

       5.     Additional time is needed for two principal reasons: 1) to gather necessary

mitigation-related information and 2) to complete the presentence investigation interview

and report.

       6.     First, more time is needed to gather mitigation evidence. The present case

represents Mr. Echavarria’s first criminal case and there is a substantial amount of

mitigation-related information that undersigned counsel intends on presenting to the Court

on his behalf. A majority of that information will come from Mexico and will need to be

translated.

       7.     Second, undersigned counsel coordinated a time to conduct the

Presentence Investigation Interview with the United States Probation Department and Mr.

Echavarria, but due to a conflict with a Detention Hearing set in a new case, the interview

had to be cancelled and rescheduled to a date outside the period allowed for disclosure

of the report. A new date has been agreed upon in mid-October.

       8.     Undersigned counsel advised counsel for the government of the present

request and she has no objection to a 60-day continuance of the Sentencing Hearing.




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        WHEREFORE, undersigned counsel requests that the Sentencing Hearing

currently set for November 16, 2022, be vacated and continued to a date in mid-January

2023.


                                       Respectfully submitted,

                                       VIRGINIA L. GRADY
                                       Federal Public Defender


                                       s/ Timothy P. O’Hara
                                       TIMOTHY P. O’HARA
                                       Assistant Federal Public Defender
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                                       Denver, Colorado 80202
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                               CERTIFICATE OF SERVICE

I hereby certify that on October 4, 2022, I electronically filed the foregoing

        UNOPPOSED MOTION TO CONTINUE THE SENTENCING HEARING

with the Clerk of Court using the CM/ECF system which will send notification of such filing
to the following e-mail address:

       Andrea Surratt
       Assistant U.S. Attorney
       Email: Andrea.Surratt@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

       Carlos Fong Echavarria       (U.S. Mail)

                                           s/ Timothy P. O’Hara
                                           TIMOTHY P. O’HARA
                                           Assistant Federal Public Defender
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                                           Denver, Colorado 80202
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                                           Email: timothy_ohara@fd.org
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